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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


BRANDY DAILEY,                                     §
                                                   §
                Plaintiff,                         §
                                                   §
versus                                             §           CIVIL ACTION NO. 1:18-CV-500
                                                   §
WRIGHT NATIONAL FLOOD INS.                         §
COMPANY,                                           §
                                                   §
                Defendant.                         §

                     ORDER TO CONDUCT RULE 26(f) CONFERENCE

         Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States District Court

for the Eastern District of Texas, United States District Judge Marcia A. Crone referred this

matter to the undersigned magistrate judge for pretrial management. Having been informed by

the Clerk that one or more defendants in this case have appeared by filing an answer or otherwise,

the Court directs the parties to confer as required by FED. R. CIV. P. 26(f) no later than February

22, 2019.

         In addition to a discussion of the items set forth in Rule 26(f), the parties shall attempt in

good faith to agree on certain matters, including deadlines for a proposed Scheduling Order, and

shall file with the court a joint written report outlining their proposals no later than March 8,

2019.

         The parties are advised that the Hon. Marcia A. Crone’s procedures and rules of practice

apply and shall govern this action. To comply with Judge Crone’s requirements, the parties must

include the following matters in their joint conference report:
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      1.    A factual and legal description of the case that sets forth the elements of each cause

            of action and each defense;

      2.    The date the Rule 26(f) conference was held, the names of those persons who

            attended, and the parties they represented;

      3.    A list of any cases related to this case pending in any state or federal court,

            identifying the case numbers and courts along with an explanation of the status of

            those cases;

      4.    An agreed discovery/case management plan, if agreement can be reached, which

            will be used by the court to prepare a Scheduling Order (a Scheduling Order form

            is attached). The parties are encouraged to submit a completed Scheduling Order

            with their joint conference report, including proposed deadlines for the following:

            a.     Joining additional parties;

            b.     Filing amended pleadings;

            c.     Disclosing expert testimony pursuant to FED. R. CIV. P. 26(a)(2) and Local

                   Rule CV-26(b);

            d.     Completing all discovery;

            e.     Filing motions, including motions to transfer, to remand, to exclude or limit

                   expert testimony, to dismiss, and for summary judgment;

      5.    A suggested date for the Final Status Conference (see attached list of Judge Crone’s

            available Final Status Conference dates), at which time the final pretrial conference

            and the trial will be scheduled;

      6.    The expected length of trial and whether it will be to a jury or the bench;


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           7.      Whether the parties jointly consent to trial before a magistrate judge (if so, execute

.                  the Consent to Proceed before Magistrate form, which can be found on the Court’s

                   website at www.txed.uscourts.gov, ); and

           8.      Whether the parties request a conference with the court pursuant to

                   FED. R. CIV. P. 16(b) before entry of the Scheduling Order.

           The joint conference report must be signed by counsel for each party and by any

    unrepresented parties. All parties should keep in mind that the failure to participate fully in the

    Rule 26(f) conference or to submit the joint conference report on a timely basis may result in the

    imposition of sanctions authorized by FED. R. CIV. P. 16(f).

                 SIGNED this the 1st day of February, 2019.




                                                    ____________________________________
                                                    KEITH F. GIBLIN
                                                    UNITED STATES MAGISTRATE JUDGE




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          UNITED STATES DISTRICT COURT * * * * * * * EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

____________________                                 §
                                                     §
versus                                               §    CIVIL ACTION NO. 1:__-CV-____
                                                     §
____________________                                 §

                                            SCHEDULING ORDER

The following schedule shall be followed.

1. ________________________        NEW PARTIES shall be joined, without leave of court, by this date.

2. ________________________        The pleadings shall be AMENDED, without leave of court, by this date.

3. ________________________        PLAINTIFF shall designate EXPERT WITNESSES in writing and provide
                                   expert reports by this date.

4. ________________________        DEFENDANT shall designate EXPERT WITNESSES in writing and
                                   provide expert reports by this date.

5. ________________________        DISCOVERY shall be completed by this date.

6. ________________________        MOTION CUT-OFF. Aside from motions in limine, no motion, including
                                   motions to exclude or limit expert testimony, shall be filed after this date
                                   except for good cause shown. Without leave of court, a party may file only
                                   one summary judgment motion. (This date must be at least 2 weeks after
                                   the discovery completion date.)

7. ________________________        The JOINT PRETRIAL ORDER, including motions in limine and a
                                   proposed charge or proposed findings of fact and conclusions of law, shall
                                   be filed and proposed trial exhibits shall be exchanged on or before this
                                   date. (This date must be at least 12 weeks after the motion cut-off.)

8. ________________________        OBJECTIONS TO proposed exhibits, witnesses, and deposition excerpts,
                                   as well as responses to motions in limine, shall be filed by this date. (This
                                   date must be no more than 1 week after the Joint Pretrial Order is due.)

9. ________________________        FINAL STATUS CONFERENCE at 10:00 a.m. (Select a date from the
                                   attached list, which must be at least 2 weeks after the Joint Pretrial
                                   Order is due.) The case will be set for Final Pretrial Conference and Trial
                                   at the Final Status Conference. The parties should be prepared to try the
                                   case by this date.

10. _______________________        Estimated time to try before a jury/the court. (Underline one.)

         SIGNED at Beaumont, Texas, on this ______ day of _______________, 20___.



                                                        KEITH F. GIBLIN
                                             UNITED STATES MAGISTRATE JUDGE
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          Beaumont Final Status Conference Dates for Judge Marcia A. Crone

    (Select one of the dates listed below to complete Number 9 of the Scheduling Order)



August 2, 2019
September 6, 2019
October 4, 2019
November 1, 2019
December 6, 2019

January 3, 2020
February 7, 2020
March 6, 2020
April 3, 2020
May 1, 2020
June 5, 2020
July 2, 2020
August 7, 2020
September 4, 2020
October 2, 2020
November 6, 2020
December 4, 2020

January 8, 2021
February 5, 2021
March 5, 2021
April 2, 2021
May 7, 2021
June 4, 2021
July 2, 2021
August 6, 2021
September 3, 2021
October 1, 2021
November 5, 2021
December 3, 2021

January 7, 2022
February 4, 2022
March 4, 2022
April 1, 2022
